             Case 4:15-cv-00205-KGB Document 90 Filed 03/28/16 Page 1 of 9



                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION

FURLANDARE SINGLETON, et al.                                  PLAINTIFFS

v.                   Case No.: 4:15-CV-205-KGB


ARKANSAS HOUSING AUTHORITIES
PROPERTY & CASUALTY SELF-INSURED
FUND, INC., et al.                                           DEFENDANTS

                   BRK BRANDS, INC.’S MEMORANDUM BRIEF
             IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT

        Defendant, BRK Brands, Inc. (“BRK”), by and through its attorneys, Wright,

Lindsey & Jennings, LLP, and Cozen O’Connor, and for its Memorandum Brief in

Support of its Motion for Summary Judgment, states as follows:

I.      INTRODUCTION

        Plaintiffs have alleged that Marilyn Beavers and her four children, Dequan

Singleton, Sydni Singleton, Hailey Singleton and Emily Beavers (“decedents”), died

as a result of the March 22, 2012 fire that occurred at an apartment in which the

decedents resided. As to separate defendant, BRK, plaintiffs allege that a smoke

alarm manufactured by BRK failed to sound an audible alarm to warn Marilyn

Beavers of the presence of smoke from the fire. (Doc. No. 27, ¶¶ 36, 67 & 68.)

Based on the allegations against BRK, plaintiffs have pled product liability causes

of action against BRK, namely strict liability, failure to warn, defective design,

negligence, breach of express warranty and breach of implied warranty of

merchantability. (Doc. No. 27). Based on the undisputed evidence, plaintiffs cannot




1301423-v1
             Case 4:15-cv-00205-KGB Document 90 Filed 03/28/16 Page 2 of 9



establish a prima facie case as to BRK and BRK is entitled to judgment, as a matter

of law.

II.     FACTUAL BACKGROUND

        In the early morning hours of March 22, 2012, decedents were in the

apartment in which they resided in Jacksonville, Arkansas. (Doc. No. 27 at ¶ 31).

On or about 2:00 a.m. on the morning of the fire, all decedents shared a telephone

conversation with plaintiff, Furlandare Singleton. (Doc. No. 27 at ¶ 34). Moments

after the 2:00 a.m. telephone conversation, a fire ignited in decedents’ apartment.

(Doc. No. 27 at ¶ 35). Marilyn Beavers was aware of the fire and attempted to

extinguish the fire. (Doc. No. 27 at ¶ 37).

        A Model 1839WN smoke alarm, manufactured by BRK, was installed in the

hallway of the apartment on the night of the fire.     (Doc. No. 27 at ¶ 65).   On

December 7, 2015, all parties and their experts inspected the smoke alarm that was

installed in decedents’ apartment on the night of the fire.    (Affidavit of Daniel

Gottuk attached to BRK’s motion as Exhibit “A” and also attached to Jacksonville

Housing Authority’s motion for summary judgment, Doc. No. 56-2). This December

7, 2015, inspection demonstrated that the smoke alarm sounded during the fire.

(Id.)

        All occupants of the apartment, decedents, died during the fire from smoke

inhalation. There is no evidence as to when Marilyn Beavers became aware of the

fire in relation to when the decedents became unconscious, nor is there evidence as

to when the alarm sounded in relation to when decedents became unconscious. As



                                              2
1301423-v1
             Case 4:15-cv-00205-KGB Document 90 Filed 03/28/16 Page 3 of 9



such, there is no evidence that decedents lacked sufficient time to escape the

apartment as a proximate result of any claimed alarm defect.

III.    STANDARD FOR SUMMARY JUDGMENT

        Pursuant to Rule 56(c) of the Federal Rules of Civil Procedure, summary

judgment “shall be rendered forthwith if the pleadings, depositions, answers to

interrogatories, and admissions on file, together with affidavits, if any, show that

there is no genuine issue as to any material fact and that the moving party is

entitled to a judgment as a matter of law.” Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 255 (1986); Cheshewalla v. Rand & Son Constr. Co., 415 F.3d 847, 850 (8th Cir.

2005). In order to defeat a motion for summary judgment, the non-moving party

must “make a showing sufficient to establish the existence of an element essential

to that party’s case and on which the party will bear the burden of proof.” Celotex

Corp. v. Catrett, 477 U.S. 317, 322 (1986). There is no issue for trial unless there is

sufficient evidence favoring the non-moving party for the trier of fact to return a

verdict for that party. Anderson, 477 U.S. at 249. “The non-movant ‘must do more

than simply show that there is some metaphysical doubt as to material facts,’ and

must come forth with ‘specific facts showing that there is a genuine issue for a

trial’.” Torgerson v. City of Rochester, 643 F.3d 1031, 1042 (8th Cir. 2011) (en banc)

(quoting Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586-587

(1986)).

        The mere existence of some alleged factual dispute will not defeat a properly-

supported motion for summary judgment; rather, the disputed fact must be



                                           3
1301423-v1
             Case 4:15-cv-00205-KGB Document 90 Filed 03/28/16 Page 4 of 9



“outcome determinative” under applicable law. Holloway v. Pigman, 884 F.2d 365,

366 (8th Cir. 1989). A case founded on “speculation or suspicion” is not sufficient to

survive a summary judgment motion. National Bank of Commerce v. Dow Chemical

Company, 165 F.3d 602, 607 (8th Cir. 1999).

        For the reasons explained below, BRK is entitled to judgment as a matter of

law on all claims asserted by all plaintiffs in this matter.

IV.     PLAINTIFFS CANNOT ESTABLISH A PRIMA FACIE CASE AGAINST
        BRK ON ANY LIABILITY THEORY

        Plaintiffs’ theories of liability against BRK are product liability theories with

regard to the subject smoke alarm manufactured by BRK. Whether the theory is

based on product defect, negligence/failure to warn or breach of warranty, under

Arkansas law, to establish a prima facie case against BRK, plaintiffs must establish

a nexus between BRK and the deaths of the decedents. When the evidence here is

viewed beyond speculation, plaintiffs cannot meet their burden. See AMI Civil 1013

(2016); Higgins v. General Motors, 287 Ark. 390, 392, 699 SW 2d 741, 743 (1985).

        A.       Plaintiffs Cannot Establish That the Smoke Alarm Was
                 Defective or Unreasonably Dangerous

        Under Arkansas law, to prevail on a products liability claim, plaintiffs must

show “(1) [t]he supplier is engaged in the business of manufacturing, assembling,

selling, leasing or otherwise distributing the products; (2) [t]he product was

supplied by him or her in a defective condition which rendered it unreasonably

dangerous; and (3) [t]he defective condition was a proximate cause of the harm to




                                            4
1301423-v1
             Case 4:15-cv-00205-KGB Document 90 Filed 03/28/16 Page 5 of 9



person or to property.”      Ark. Code. Ann. § 4-86-102(a); Ruminer v. Gen. Motors

Company, 483 F.3d 561, 563 (8th Cir. 2007).

        Further, Arkansas law “is clear that in order to recover on a products-liability

claim, a defect alone is not enough; the defect must render the product

‘unreasonably dangerous’ as well.” Mason v. Mitcham, 382 S.W.3d, 717, 719 (Ark.

Ct. App. 2011). “The mere fact of an accident, standing alone … does not make out

a case that the product was defective, nor does the fact that it was found in a

defective condition after the event, where it appears equally likely that it was

caused by the accident itself.” Shipp v. Gen. Motors Company, 443 F.Supp.2d 1023,

1032 (Ed.Ark. 2006) (Holmes, J.).

        Here, plaintiffs have no evidence that the smoke alarm was defective or

unreasonably dangerous. Plaintiffs’ product defect claim is based on the allegations

that the smoke alarm failed to sound. (Doc. No. 27, ¶¶ 36, 67, 68). However, the

undisputed evidence is that the alarm sounded.         Joint testing performed by all

experts, including plaintiffs’ experts, has established unequivocally that the alarm

sounded. Plaintiffs have no evidence to the contrary. Plaintiffs have no evidence

that the smoke alarm sounded later than it should have sounded. Indeed, plaintiffs

admit in their Amended Complaint that they were awake “moments before” the fire,

that Marilyn Beavers was aware of the fire, and that Marilyn Beavers even

attempted to extinguish the fire. (Doc. No. 27 at ¶¶ 34, 35 and 37).

        The testing performed by all experts demonstrates the alarm sounded.

Plaintiffs cannot dispute this. Crucially, plaintiffs cannot establish when the alarm



                                            5
1301423-v1
             Case 4:15-cv-00205-KGB Document 90 Filed 03/28/16 Page 6 of 9



sounded. If a jury does not know when the alarm sounded, it could not possibly

conclude that it was delayed in alarming.

        Because plaintiffs’ causes of action against BRK are premised on proving that

the subject smoke alarm did not sound, this allegation must be established with

proof in order to make a prima facie case. Undisputed evidence that the smoke

alarm sounded is fatal to plaintiffs’ prima facie case against BRK under any product

liability theory. Because the undisputed evidence is that the smoke alarm sounded,

plaintiffs cannot meet their burden of proof as to BRK, under any theory. BRK is

entitled to judgment, as a matter of law.

        B.       Plaintiffs Cannot Establish Proximate Cause

        On each of their claims, plaintiffs have the burden of proving that any alleged

defect in the smoke alarm was the proximate cause of the decedents’ deaths. See

Mason, 382 SW.3d at 719 (strict liability); Cross v. W. Waste Ind. U.S., 469 S.W.3d

820, 825 (Ark. Ct. App. 2015) (negligence). Proximate cause is “that which in the

natural and continuous sequence, unbroken by any efficient intervening cause,

produces the injury, and without which the result would not have occurred.” Wal-

Mart Stores, Inc. v. Kilgore, 85 Ark. App. 231, 148 S.W.3d 754 (2004). The key

element of causation cannot be left to a jury’s speculation.        National Bank of

Commerce v. Dow Chemical Company, 169 F.3d at 607. If reasonable minds cannot

differ as to the result, proximate cause is a question of law.        Dodd v. Sparks

Regional Medical Center, 90 Ark. App 191, 200, 204 S.W.3d 579 (2005).




                                            6
1301423-v1
             Case 4:15-cv-00205-KGB Document 90 Filed 03/28/16 Page 7 of 9



        As a threshold element, as stated previously, plaintiffs must establish that

the smoke alarm’s performance was substandard – that it somehow failed to sound.

The undisputed evidence is to the contrary and establishes that the alarm sounded.

But even if plaintiffs were able to establish that the alarm did not timely sound,

which they cannot, to make a prima facie case and overcome summary judgment,

plaintiffs must also establish that decedents would have survived if the smoke

alarm had sounded or sounded sooner.          See Garcia v. BRK Brands, Inc., 266

F.Supp.2d 566 (S.D.Tex. 2003) (plaintiffs could not survive judgment because “jury

would be left to guess whether a properly-functioning smoke detector would have

alarmed in time to save [decedent]”); Warner v. Pitway Corporation, 90 F.Supp.2d

1018, 1027-1028 (W.D.Wis. 2000) (plaintiffs must prove that the smoke alarm’s

failure to sound a timely alarm was the substantial cause of their injuries).

        Plaintiffs cannot meet their causation burden for two reasons: 1) Marilyn

Beavers was admittedly aware of and alerted to the fire, and spent an unknown

amount of time attempting to put the fire out; and, 2) there is no evidence as to how

much time passed between any alleged alarm delay and the point the decedents

became unconscious. There is no evidence that, prior to becoming unconscious, the

decedents had insufficient time to escape the smoke/fire during the time Marilyn

Beavers chose to try and extinguish the fire nor is there evidence they had

insufficient time to escape at the point the alarm sounded.

        Simply put, even if plaintiffs were able to establish a product defect,

reasonable minds cannot differ as to the absence of causation. There is simply no



                                          7
1301423-v1
             Case 4:15-cv-00205-KGB Document 90 Filed 03/28/16 Page 8 of 9



proof, beyond speculative argument, that decedents were unable to escape the

apartment as a proximate result of a claimed alarm defect. Accordingly, plaintiffs

cannot establish proximate cause.

IV.     CONCLUSION

        WHEREFORE, defendant, BRK Brands, Inc., prays that this Honorable

Court grant its Motion for Summary Judgment on all counts of plaintiffs’ Amended

Complaints, and award it costs, fees, and all other relief this Court deems

appropriate.


                                  Respectfully submitted,

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                                           8
1301423-v1
             Case 4:15-cv-00205-KGB Document 90 Filed 03/28/16 Page 9 of 9




                             CERTIFICATE OF SERVICE

        I hereby certify that on March 28, 2016, I electronically filed the foregoing

with the Clerk of Court using the CM/ECF system, which shall send notification of

such filing to the following:

        David A. Hodges                             Shawn Childs
        E. Dion Wilson                              William M. Hatchett
        Sheila Campbell                             William Griffin
        Teresa Wineland                             John Wilkerson
        John Walker


                                        /s/ Kathryn A. Pryor
                                         Kathryn A. Pryor




                                            9
1301423-v1
